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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                           §
THE DAILY WIRE, LLC, et al.,               §
                                           §
         Plaintiffs,                       §
                                           §
v.                                         §    Case No. 6:23-cv-609-JDK
                                           §
UNITED STATES DEPARTMENT OF                §
STATE, et al.,                             §
                                           §
         Defendants.                       §
                                           §

                        ORDER DENYING WITHOUT PREJUDICE
                        MOTION FOR PRELIMINARY INJUNCTION
          Before the Court is Plaintiffs FDRLST Media, LLC, the State of Texas, and

 The Daily Wire, LLC’s motion for a preliminary injunction. Docket No. 11. The Court

 previously granted Plaintiffs’ motion for expedited preliminary-injunction discovery

 and granted the parties leave to supplement their existing briefing on the

 preliminary-injunction motion following that discovery. Docket No. 54.

          Upon further review, the Court DENIES the pending motion for a preliminary

 injunction (Docket No. 11) WITHOUT PREJUDICE and will allow Plaintiff to refile

 an amended motion after the close of the expedited discovery. The Court will issue

 an initial schedule that includes deadlines and page limits for briefing the amended

 motion.

         So ordered and signed on this
         Jun 12, 2024
